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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA :

               v.                    :      21-CR-0576 (RC)

FLOYD RAY ROSEBERRY                  :



                                    NOTICE OF FILING

       Undersigned counsel respectfully submits this notice of filing of the attachments that

counsel inadvertently failed to file with Defendant’s Reply to Government’s Reply in Opposition

to Defendant’s Motion to Reconsider Order of Detention and Impose Conditions of Release,

ECF No. 15. These are: (1) the government’s unofficial transcripts of the statements

Mr. Roseberry made while livestreaming on Facebook (referred to as “Tr.” in the Reply), and

(2) the Federal Bureau of Investigation analysis of the can Mr. Roseberry was holding at the time

of the charged offenses.


                                            Respectfully submitted,

                                            A. J. KRAMER
                                            FEDERAL PUBLIC DEFENDER

                                                    /s/

                                            MARY MANNING PETRAS
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